 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF |.

v. 8:20-MJ-00721-3

 

 

Vicente Ignacio Morales,

ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT

 

 

 

 

DEFENDANT(S). TO BAIL REFORM ACT
Upon motion of Defendant , IT IS ORDERED that a detention hearing
is set for October 22 , 2020 , at 9:00 la.m. / p.m. before the
Honorable Karen E. Scott ; , in Courtroom 10D /VTC

 

 

Pending this hearing, the defendant shall be held in custody by the United States Marshal or
and produced for the hearing.

 

(Other custodial officer)

Dated: 14-20 LD yr 6. Sat

U.S. District Judge/Magistrate Judge
KAREN E. SCOTT

 

ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT
CR-66 (10/97) Page 1 of 1
